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                                  EXHIBIT B

                 Letter from LTL and J&J in Support of the Plan




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To:     Holders of Claims Related to Johnson & Johnson’s Baby Powder and Shower to Shower

       LTL Management LLC (“LTL”) and Johnson & Johnson (“J&J”) have reached an
agreement with law firms representing approximately 60,000 talc claimants on the Plan of
Reorganization (the “Plan”) included with this letter. Over the last decade in which tens of
thousands of talc claims have been pursued, only 48 cases have been tried, and of those, the vast
majority result in no recovery for the claimants. The Plan proposes to establish a trust to process
and pay all cosmetic talc claims related to Johnson & Johnson’s Baby Powder and Shower to
Shower (the “J&J Talc Claims”), including your claim.

        — LTL and J&J have agreed to fund a trust with over $12 billion over 25 years to pay
          all J&J Talc Claims.

        — $5.9 billion will be funded within the first year after the Plan is approved and
          effective.

        — The proposed settlement, if approved, would be the largest amount funded into an
          asbestos-related trust in the history of the United States.

        — It is anticipated that the trust would pay all current J&J Talc Claims within one year
          after it is established.

        If the trust under the Plan is established, you will no longer need to pursue your claim in
court. Instead, you will need to file your claim only with the trust. The trust will then process
your claim and determine the amount you will receive pursuant to approved procedures. That
amount will be based on various criteria established by the trust.

         The compensation anticipated to be paid by the trust compares very favorably to amounts
claimants have received to date in the courts, as the trust will pay out over $12,000,000,000
while the vast majority of talc claimants have recovered nothing. And the court system has taken
almost a decade to resolve only a handful of J&J Talc Claims. In fact, since the time the first
J&J Talc Claim to go to trial was filed in 2013, only 48 cases began a trial, and only 5 of those
trials resulted in any money being paid to a J&J Talc Claimant.

     WE BELIEVE THAT THE PLAN IS IN THE BEST INTEREST OF HOLDERS OF
TALC CLAIMS AND URGE YOU TO VOTE TO ACCEPT THE PLAN.

     THE PLAN IS SUPPORTED BY APPROXIMATELY TWENTY LAW FIRMS THAT
REPRESENT TENS OF THOUSANDS OF CLAIMANTS. THESE LAW FIRMS HAVE
FORMED AN “AD HOC COMMITTEE OF SUPPORTING COUNSEL”, WHICH HAS
INDEPENDENTLY CONCLUDED THAT THE PLAN IS IN THE BEST INTEREST OF
HOLDERS OF TALC CLAIMS AND HAVE RECOMMENDED THAT THOSE HOLDERS
VOTE IN FAVOR OF THE PLAN.




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The following documents, among others, are contained in the enclosed materials:

        • a letter from the Ad Hoc Committee of Supporting Counsel recommending that you cast
a vote to accept the Plan, and a letter from the Official Committee of Talc Claimants
recommending that you cast a vote to reject the Plan;

        • the Plan;

        • LTL’s disclosure statement regarding the Plan (the “Disclosure Statement”);

       • a notice regarding the Bankruptcy Court’s order approving the Disclosure Statement,
providing information regarding Plan voting and announcing the Bankruptcy Court’s hearing
scheduled for __________, 2023 to consider confirmation of the Plan; and

         • for talc claimants, a ballot and, as applicable, a return envelope (unless counsel for such
talc claimant is submitting a single or “master” ballot for all of the talc claimants it represents,
which ballot will reflect the informed decision of each such talc claimant to accept or reject the
Plan).

Please read carefully the enclosed Disclosure Statement, which was approved by the Bankruptcy
court on _________, 2023, for further information regarding the Plan. If you have any questions
regarding voting procedures, you may contact LTL’s voting agent, Epiq at
LTLVote@epiqglobal.com or at (888) 431-4056 (Toll-Free) or +1 (503) 822-6762
(International).

PLEASE NOTE THAT, TO BE COUNTED, BALLOTS MUST BE RECEIVED BY EPIQ NO
LATER THAN _______________ ON ___________.

Sincerely,

On behalf of LTL Management LLC




On behalf of Johnson & Johnson




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